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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF ALABAMA
                        NORTHERN DIVISION

EDWARD BRAGGS, et al.,                     )
                                           )
       Plaintiffs,                         )
                                           )      Case No. 2:14-cv-00601-MHT
v.                                         )
                                           )   District Judge Myron H. Thompson
JOHN HAMM, et al.,                         )
                                           )
       Defendants.                         )

           THE STATE’S STATUS REPORT CONCERNING
        THE PHASE 1 AND PHASE 2A ADA CONSENT DECREES

      Defendants John Hamm (“Commissioner Hamm”), in his official capacity as

Commissioner of the Alabama Department of Corrections (“ADOC”), and Deborah

Crook (“Deputy Commissioner” and, collectively with Commissioner Hamm, the

“State”) in her official capacity as ADOC’s Deputy Commissioner, Office of Health

Services, hereby submit this status report for the August 15, 2022 status conference

as directed by the Court’s “Order on ADA Aspects of the Case” (doc. 3480) and the

Phase 2A Revised Remedy Scheduling Order on the Eight Amendment Claim.

(Doc. 3667).

      On May 3, 2022, the State met and conferred with Alabama Disabilities

Advocacy Program (“ADAP”) regarding the Phase 1 ADA Consent Decree (doc.

728) and Phase 2A ADA Consent Decree (doc. 1291) Monitoring Reports.
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Additionally, on May 13, 2022, the State responded to Plaintiffs’ formal notification

of alleged failures of the State to comply with the ADA Consent Decrees. In the

response, the State notified Plaintiffs of the requirement to “revisit the scope of work

contemplated by the ADA Alterations and reevaluate the schedule, need, and/or

propriety for such ADA Alterations” based upon the execution of the contract to

construct a new prison. (Doc. 2752 at 4). The Parties agreed to seek the assistance

of Magistrate Judge John Ott to resolve any outstanding disputes, and began

conducting routine conferences with Magistrate Judge Ott. With the assistance of

Magistrate Judge Ott, the Parties have made significant progress towards resolving

all outstanding disputes. As of the filing of this Status Report, the Parties continue

to meet routinely with Magistrate Judge Ott, and continue to make progress

resolving the Parties issues concerning compliance with the Phase 1 and Phase 2A

ADA Consent Decrees.

      Date: August 1, 2022.

                                        /s/ Kenneth S. Steely
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                         CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing has been served upon all attorneys
of record in this matter, including without limitation the following, on this 1st day
of August, 2022:

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